Case 8:05-cr-00530-JSM-E_J Document 600 Filed 05/17/07 Page 1 of 2 PageID 1723




                          UNITED STATES DISTRICT Court
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION


   UNITED STATES OF AMERICA,                :
                                            :
         Plaintiff,                         :
                                            :
   v.                                       :      Case No. 8:05-Cr-530-T-30EAJ
                                            :
   ROCCO SARLEY, JR.,                       :
                                            :
         Defendant.                         :
                                            :


                           FINAL ORDER OF FORFEITURE

         THIS CAUSE comes before the Court upon the filing of a Motion (Dkt. #599)

   by the United States of America for a Final Order of Forfeiture for the following

   property:

                 Sales proceeds in the amount of $32,580.65 in lieu of the real
                 property located at 12708 Box Drive, Hudson, Florida 34667, including
                 all improvements thereon and appurtenances thereto, the legal
                 description for which is as follows:

                 Lot 3, Block 14, ROLLING OAKS ESTATES UNIT 1, according to the
                 plat thereof, recorded in Plat Book 16, Pages 23 through 32 of the
                 Public Records of Pasco County, Florida.

                 Parcel Identification Number: 04-24-17-0030-01400-0030.

         Accordingly, for good cause shown, it is hereby ORDERED, ADJUDGED

   AND DECREED that the Motion (Dkt. #599) of the United States is GRANTED.

         It is further ORDERED that the above-referenced currency is hereby forfeited

   to the United States of America pursuant to the provisions of 21 U.S.C. § 853.
Case 8:05-cr-00530-JSM-E_J Document 600 Filed 05/17/07 Page 2 of 2 PageID 1724




            It is further ORDERED that the United States Marshal’s Service be and is

   hereby given full possession and control of the property for disposition pursuant to

   law.

            DONE and ORDERED in Tampa, Florida on May 17, 2007.




   Copies to:
   Adelaide G. Few, AUSA
   Counsel of Record
   F:\Docs\2005\05-cr-530.forfeiture 599.wpd




                                               2
